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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                        SHELBY GAIL HEIFETZ,
                                   7                                                        Case No. 15-cv-04699-SK
                                                       Plaintiff,
                                   8
                                                v.                                          ORDER DISCHARGING ORDER TO
                                   9                                                        SHOW CAUSE
                                        CAPITAL FINANCIAL LLC, et al.,
                                  10
                                                       Defendants.                          Regarding Docket No. 16
                                  11

                                  12          The Court has received Plaintiff’s response to the Order to Show Cause (“OSC”) filed on
Northern District of California
 United States District Court




                                  13   June 6, 2016. Plaintiff indicated that she intends to move for entry of default against Defendant

                                  14   Big Burger, Inc. and to move for an extension of the deadline to complete the inspection. The

                                  15   Court HEREBY DISCHARGES the OSC. However, Plaintiff is warned that, if she does not move

                                  16   for entry of default and file a stipulation or administrative motion to extend the deadline to

                                  17   conduct an inspection by July 13, 2016, the Court will dismiss the action without prejudice.

                                  18          IT IS SO ORDERED.

                                  19   Dated: June 22, 2016

                                  20                                                    ______________________________________
                                                                                        SALLIE KIM
                                  21                                                    United States Magistrate Judge
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